         Case 21-60052 Document 91 Filed in TXSB on 12/13/21 Page 1 of 9




                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION


IN RE:                                       §
                                             §
SCOTT VINCENT VAN DYKE,                      §       CASE NO. 21-60052
                                             §
                     Debtor                  §

                       MICHAEL L. NOEL’S OBJECTION TO
                          PLAN OF REORGANIZATION
                             [Relates to Docket No. 66]


       Michael L. Noel (referred to as “Dr. Noel”) files this Objection to the Plan of

Reorganization filed by Scott Vincent Van Dyke (“Van Dyke” or the “Debtor”), and

would respectfully show the Court the following:

       1.     The Plan lacks any feasibility. The Plan fails to comply with 11 USC

§1129(a)(11). The Plan supposes that Texas Petroleum Operations LLC – wholly-owned

by Van Dyke – is going to (a) raise substantial [but undetermined] amounts of money, (b)

acquire new oil and gas leases with the funds invested, (c) drill new wells on the leases

acquired, and (d) then pay a small fraction of the profit from those wells to his unsecured

creditors. But Van Dyke and the companies that he controls have never been able to

accomplish such goals. To the contrary, Van Dyke and his companies has a long (and

well-documented) history of breaching major contracts, defrauding his investors, and

failing to pay judgments against him. Van Dyke’s prior malfeasance is reflected in the

findings, orders, judgments, and transcripts of the following lawsuits:




                                            -1-
       Case 21-60052 Document 91 Filed in TXSB on 12/13/21 Page 2 of 9




     Anglo-Dutch Petroleum International, Inc., et al. v. Greenberg Peden, et al.,
Cause No. 2004-20712 in the 61st District Court of Harris County, Texas — $1.7
million+ judgment against Anglo-Dutch Petroleum International, Inc. and Anglo-Dutch
(Tenge) LLC, both of which were controlled by Van Dyke. Judge John Donovan issued
findings on October 29, 2007 establishing that, in 2006, Anglo-Dutch Petroleum
International, Inc. had made three transfers of funds totaling more than $19 million “at
the direction of [Scott] Van Dyke … with the actual intent to hinder, delay, or
defraud” the creditors of Anglo-Dutch Petroleum International, Inc. 1

     Case Funding Network, LP, et al. v. Anglo-Dutch Petroleum International, Inc., et
al., Cause No. 2004-23845, styled in the 127th District Court of Harris County, Texas —
judgments totaling $500,000+ in favor of multiple plaintiffs against Anglo-Dutch
Petroleum International, Inc. [“ADPI”] and Anglo-Dutch (Tenge) LLC [“ADT”], both of
which were controlled by Van Dyke.              Judge R. K. Sandhill issued the following
“Findings of Fact and Conclusions of Law,” among many others, on April 25, 2012:

      “Finding of Fact No. 4. Scott Van Dyke (hereinafter “Van Dyke”) has been the
      majority owner of ADPI and ADT since their formation and remains the majority
      owner of ADPI and ADT today.

      Finding of Fact No. 5. Van Dyke acted for and on behalf of ADPI and ADT at all
      times material to this case.” …

      “Conclusion of Law No. 5. ADPI and ADT fraudulently induced Mr. Press,
      Prosperity and Anzar to each sign a Settlement & Release of Claims
      Investment Agreement agreeing to take less than the amounts due each of
      them under their respective Claims Investment Agreement(s) because (a) they
      made material misrepresentations to each of them, (b) they made such
      misrepresentations with knowledge of their falsity or made them recklessly

1     A Final Judgment based on this fraudulent transfer was signed by Judge Vanessa Gilmore last
      month in Eva. S. Engelhart, Chapter 7 Trustee of Anglo-Dutch Petroleum International, Inc. v.
      Scott Van Dyke, C.A. No. 4:19-cv-02894 in the United States District Court for the Southern
      District of Texas.


                                                -2-
        Case 21-60052 Document 91 Filed in TXSB on 12/13/21 Page 3 of 9




       without knowledge of their truth and as a positive assertion, (c) they made such
       misrepresentations with the intent that they be acted on by each Plaintiff and (d)
       such Plaintiff relied on such misrepresentations and thereby suffered injury.”

       At a subsequent hearing on April 27, 2012, Judge Sandhill stated on the record
       that “This was a way for Mr. Van Dyke to finance a lawsuit and Mr. Van Dyke
       found a way that he could make some money and screw his investors and
       that’s what he did.”

      Builders West Inc. v. Scott Van Dyke, Cause No. 2011-54019 in the 113th District
Court of Harris County, Texas — judgment of $900,000+ against Van Dyke, based on his
breach of contract. This judgment was affirmed on appeal, and remains unpaid

      Michael Noel et al. v. Scott Van Dyke, et al., Cause No. 2018-34037 in the 127th
District Court of Harris County, Texas — judgments totaling $1,500,000+ against Anglo-
Dutch Energy LLC and Van Dyke, based on loans and investments made by Dr. Noel.
Van Dyke has paid nothing on account of these judgments. 2

       2.      The Plan is not fair and equitable, nor filed in good faith. The Plan

proposes to pay Van Dyke an average of $60,000.00 per month, while he continues to

live in a house appraised at $5 million+. Meanwhile, his unsecured creditors would

receive about two cents (2¢) on the dollar, paid pro rata over five years – but only if Van

Dyke were to somehow accomplish something he has never done before: (a) raise new

capital, (b) acquire new oil and gas leases, (c) drill new wells, and (d) pay a small part of

the profits to his creditors. Separately, the income tax returns filed by Van Dyke and his

companies reflect large and consistent losses over the years. It defies belief that he would

somehow start operating a brand-new venture at a profit. As written, the Plan is crafted


2      Dr. Noel is currently seeking a determination that these debts are non-dischargeable in Ad. Proc.
       No. 2021-06008, pending in this Court.


                                                  -3-
       Case 21-60052 Document 91 Filed in TXSB on 12/13/21 Page 4 of 9




to allow Van Dyke to maintain his multi-million-dollar lifestyle, while his unsecured

creditors would receive phony promises of payment. The Plan is simply unconscionable,

and fails to comply with 11 USC §§1129(a)(3). Even if the Court were to believe the

fanciful projections made by the Debtor, confirmation should be denied because the Plan

fails to distribute an amount equal to Van Dyke’s “disposable income,” as required by 11

USC §§1191(c)(2).

      3.     Request for Relief. Based upon the forgoing, confirmation of the Plan

should be denied.

                                           Respectfully submitted,

                                            /s/ David S. Elder
                                           David S. Elder
                                           State Bar No. 06507700
                                           dselder@foley.com
                                           Michael Riordan
                                           State Bar No. 24070502
                                           mriodan@foley.com
                                           Foley & Lardner LLP
                                           1000 Louisiana, Suite 2000
                                           Houston, Texas 77002-2099
                                           713-276-5500 (telephone)
                                           713-276-5555 (facsimile)

                                           ATTORNEYS FOR MICHAEL L. NOEL




                                          -4-
                   Case 21-60052 Document 91 Filed in TXSB on 12/13/21 Page 5 of 9




                                    CERTIFICATE OF SERVICE

               I hereby certify that on December 13, 2021, a true and correct copy of the
        foregoing pleading was served via CM/ECF to all parties authorized to receive electronic
        notice in this case and/or to the parties on the attached service list not receiving ECF.



                                                 /s/ David S. Elder
                                                 David S. Elder




4873-8298-7269.1                                   -5-
                                                         Service List
                             Case 21-60052 Document 91 Filed in TXSB on 12/13/21 Page 6 of 9
Label Matrix for local noticing                Forest Home Plantation, LLC                Harris County, et al.
0541-6                                         c/o Leann O. Moses                         Linebarger Goggan Blair & Sampson LLP
Case 21-60052                                  1100 Poydras Street                        c/o John P. Dillman
Southern District of Texas                     Suite 3100                                 P.O. Box 3064
Victoria                                       New Orleans, LA 70163-1102                 Houston, TX 77253-3064
Mon Dec 13 10:52:22 CST 2021
Henke, Williams & Boll, LLP                    6                                          AmeriCredit/GM Financial
2929 Allen Parkway, Suite 3900                 United States Bankruptcy Court             Attn: Bankruptcy
Houston, TX 77019-7125                         PO Box 61010                               PO Box 183853
                                               Houston, TX 77208-1010                     Arlington, TX 76096-3853


(p)PNC BANK RETAIL LENDING                     Bank of America                            Big Tex Storage
P O BOX 94982                                  4909 Savarese Circle FL1-908-01-50         3480 Ella
CLEVELAND OH 44101-4982                        Tampa, FL 33634-2413                       Houston Texas 77018-6136



Builders West Inc.                             Cadence/Superior Bank                      Central Portfolio Control
8905 Friendship,                               Operations Center                          Attn: Bankruptcy Attn: Bankruptcy
Houston, Texas 77080-4111                      Birmingham, AL 35203                       10249 Yellow Circle Dr , Ste 200
                                                                                          Minnetonka, MN 55343-9111


Chase Auto Finance                             (p)JPMORGAN CHASE BANK N A                 Citibank
P.O. Box 78101                                 BANKRUPTCY MAIL INTAKE TEAM                Citicorp Credit Srvs/Centralized Bk dept
Phoenix, AZ 85062-8101                         700 KANSAS LANE FLOOR 01                   PO Box 790034
                                               MONROE LA 71203-4774                       St Louis, MO 63179-0034


City of Houston Public Works                   (p)ECHELON ANALYTICS                       Encore Bank
Attn: Effie Green                              ATTN MALINDA PISCIOTTA                     Nine Greenway Plaza
4200 Leeland                                   1717 MAIN STREET                           Houston, TX 77046-0905
Houston, TX 77023-3016                         STE 3380
                                               DALLAS TX 75201-7364

Harris County et al.                           Henke, Williams & Boll, LLP                JPMorgan Chase Bank, N.A.
c/o John P. Dillman                            2929 Allen Parkway, Suite 3900             s/b/m/t Chase Bank USA, N.A.
Linebarger Goggan Blair & Sampson LLP          Houston, Texas 77019-7125                  c/o Robertson, Anschutz & Schneid, P.L.
P.O. Box 3064                                                                             6409 Congress Avenue, Suite 100
Houston, TX 77253-3064                                                                    Boca Raton, FL 33487-2853

Johns & Hebert PLLC f/k/a Johns & Counsel PL   Libertas Funding LLC                       Michael L. Noel
2028 East Ben White Boulevard, Suite 240       382 Greenwich Ave, Ste 2                   12222 Taylorcrest
Austin, Texas 78741-6931                       Greenwich, CT 06830-6501                   Houston, TX 77024-4247



(p)PHOENIX FINANCIAL SERVICES LLC              (p)TMX FINANCE LLC FORMERLY TITLEMAX       US Trustee
PO BOX 361450                                  15 BULL STREET                             Office of the US Trustee
INDIANAPOLIS IN 46236-1450                     SUITE 200                                  515 Rusk Ave
                                               SAVANNAH GA 31401-2686                     Ste 3516
                                                                                          Houston, TX 77002-2604

Wells Fargo Bank N.A., d/b/a Wells Fargo Aut   Wells Fargo Dealer Services                Brendon D Singh
PO Box 130000                                  Attn: Bankruptcy 1100 Corporate Center D   Tran Singh, LLP
Raleigh, NC 27605-1000                         Raleigh, NC 27607-5066                     2502 La Branch Street
                                                                                          Houston, TX 77004-1028
                          Case 21-60052 Document 91 Filed in TXSB on 12/13/21 Page 7 of 9
Eva S. Engelhart, Chapter 7 Trustee                  Melissa A Haselden                                   Reese Baker
7700 San Felipe, Suite 550                           Haselden Farrow PLLC                                 950 Echo Lane, Suite 300
Houston, TX 77063-1618                               Pennzoil Place                                       Houston, TX 77024-2824
                                                     700 Milam
                                                     Suite 1300
                                                     Houston, TX 77002-2736
Scott Vincent Van Dyke                               Susan Tran Adams
1515 South Boulevard                                 Tran Singh LLP
Houston, TX 77006-6335                               2502 La Branch Street
                                                     Houston, TX 77004-1028




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


BBVA Compass                                         Chase Card Services                                  Echelon Analytics, LLC
Attn: Bankruptcy                                     Attn: Bankruptcy                                     1717 Main St Ste 3380
PO Box 10566                                         PO Box 15298                                         Dallas, TX 75201
Birmingham, AL 35296                                 Wilmington, DE 19850


Phoenix Financial Services, LLC                      Titlemax of Texas
Attn: Bankruptcy                                     15 Bull St Ste 200
PO Box 361450                                        Savannah, GA 31401-2686
Indianapolis,, IN 46236




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Anzar Settlement Funding Corp.                    (u)Builders West, Inc.                               (u)Cadence Bank, N.A.




(u)Littlemill Limited                                (u)Philadelphia Indemnity Insurance Company          (u)Prosperity Settlement Funding, Inc.




(u)Andrea Lore, Individually and in Her Capac        (du)Anzar Settlement Funding Corp.                   (u)Cadence Bank




(u)Eva S. Engelhart, in Capacity as Chapter 7        (du)Littlemill Limited                               (du)Philadelphia Indemnity Insurance Company
                           Case 21-60052 Document 91 Filed in TXSB on 12/13/21 Page 8 of 9
(du)Prosperity Settlement Funding, Inc.     (u)Andrea Lore                    (u)Michael L. Noel




End of Label Matrix
Mailable recipients   34
Bypassed recipients   15
Total                 49
                         Case 21-60052 Document 91 Filed in TXSB on 12/13/21 Page 9 of 9

Anzar Settlement Funding Corp              Builders West, Inc.
                                                                                 Cadence Bank, NA
c/o Julie Goodrich Harrison                c/o Dale R Mellencamp
                                                                                 c/o Travis Clayton Badger
Norton Rose Fulbright US LLP               BairHilty PC
                                                                                 3400 Ave H, 2nd Fl
1301 McKinney St, Ste 5100                 14711 Pebble Bend Drive
                                                                                 Rosenberg, TX 77471
Houston, TX 77010                          Houston, TX 77068

Littlemill Limited                         Andrea Lore                           Philadelphia Indemnity Insurance
c/o Julie Goodrich Harrison                c/o Julie Goodrich Harrison           c/o Robert W. Miller
Norton Rose Fulbright US LLP               Norton Rose Fulbright US LLP          Manier & Herod, P.C.
1301 McKinney St, Ste 5100                 1301 McKinney St, Ste 5100            1201 Demonbreun Street, Suite 900
Houston, TX 77010                          Houston, TX 77010                     Nashville, TN 37203
                                                                                 Anglo-Dutch Energy, Anglo-Dutch (Tenge)
Prosperity Settlement Funding, Inc.        Ha Minh Nguyen
                                                                                 LLC, Anglo-Dutch Everest, LLC, Anglo-Dutch
c/o Julie Goodrich Harrison                Jason Ruff
                                                                                 (Neftenge), & Anglo-Dutch Energy Partners
Norton Rose Fulbright US LLP               Office of the United States Trustee
                                                                                 IV, LLC
1301 McKinney St, Ste 5100                 515 Rusk St., Ste. 3516
                                                                                 PO Box 22322
Houston, TX 77010                          Houston, TX 77002
                                                                                 Houston, TX 77227

                                           Builders West, Inc.
American Oil & Gas, LLC                                                          Trieagle Energy
                                           c/o Rusty Hardin & Associates, LLP
PO Box 22322                                                                     PO Box 974655
                                           1401 McKinney, Suite 2250
Houston, TX 77227                                                                Dallas, TX 75397
                                           Houston, TX 77010

                                                                                 CenterPoint Energy
AT&T U-Verse
                                           City Of Houston – Water Department    Attn: Bankruptcy
PO Box 5014
                                           PO Box 1560                           PO Box 4981
Carol Stream, IL 60197
                                           Houston, TX 77251                     Houston, TX 77210-4981



Propel Financial Services, LLC                                                   Littlemill Limited
                                           Internal Revenue Service
PO Box 100350                                                                    c/o HMH
                                           PO Box 7346
San Antonio, TX 78201                                                            3200 Travis 4th Floor
                                           Philadelphia, PA 19101
                                                                                 Houston, TX 77006


Philadelphia Indemnity Insurance Company
c/o KF&D, PLLC
909 18th Street
Plano, TX 75074
